United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

OWEN DIAZ, Case No. 3:17-cv-06748-WHO

TESLA, INC., et al.,

Plaintiff,
VERDICT FORM

Ni

Defendants.

 

 

We, the Jury, find as follows:

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What past non-economic damages did Owen Diaz sustain as a result of Tesla, Inc.’s

unlawful conduct?

Go to the next question.

What future non-economic damages is Owen Diaz likely to sustain as a result of Tesla,

Inc.’s unlawful conduct?

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Go to the next question.

What amount of punitive damages do you award to Owen Diaz?

 

 
United States District Court

Northern District of California

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When you have reached your verdict, the jury foreperson should sign and date this form

and contact the courtroom deputy, Ms. Davis.

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JURY FOREPERSON~

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